Case 2:05-Cr-20282-BBD Document 20 Filed 08/10/05 Page 1 of 2 Page|D 26

misc %

IN THE UNITED srArEs instruct coURT “ ‘

FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG l 0 AH IU= 55
WESTERN r)lvrsIoN

 

UNITED STATES OF AMERICA

 

V.

EBONY JORDAN 05cr20282-3-D

 

ORDER ON ARRAIGNMENT

 

 

This cause came to be heard o 0 did []JL _ZQQ§ the United States Attorney
for this district appeared on behalf of the gowtevilment, a d the defendant appeared in person and with
counsel:

NAME §§ » %Z¢/D who is Rerained/Appoimed.
l 1 l " --"*""--'-.--_

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (3 O) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

i/`He defendant, Who is not in custody, may stand on his present bond.
The defendant, (r\ot having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. 2

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18 USC 371
CONSPIRACY TO DEFRAUD THE UNITED STATES

Attorney assigned to Case: C. McMullen

Age: 3’\{

This document entered on the docket shea n
with Hule 55 and/or 32(b} FFlCrP on

  
 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20282 Was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Camille Reese MeMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Needurn Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

